
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud, considered this matter at its July 10, 2018, Motion Calendar and entered an order continuing this matter to the September 6, 2018, En Banc Conference. After further consideration of this matter, the Department unanimously agreed that the following order be entered.
¶ 2 Now, therefore, it is hereby
¶ 3 ORDERED:
¶ 4 That the Petitioner's motion for discretionary review is granted. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d).
For the Court/s/ Fairhurst, C.J. CHIEF JUSTICE
